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          Case 3:10-cr-03254-BTM                           Document 338         Filed 06/16/14          PageID.1128           Page 2 of 4
     AO 2458      (Rev. 9/00) Judgment ill Criminal Case
                  Sheet 2 - Imprisonment

                                                                                                          Judgment - Page _..;2:....._ of   4
     DEFENDANT: CHARLES EDWARD JOHNSON [2]
     CASE NUMBER: IOCR3254-BTM
                                                                    IMPRISONMENT

               The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
                TIME SERVED (8 DAYS).


                                                                                                          BARRY D MOSKOWITZ
          D The court makes the following recommendations to the Bureau of Prisons:                       UNITED STATES DISTRICT JUDG




          D The defendant is remanded to the custody of the United States Marshal.

          D The defendant shall surrender to the United States Marshal for this district:
                 Oat                                        Oa·m.      []p.m.     on
                     as notified by the United States Marshal.

          OThe defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                Dbefure __________________________________________________

                o as notified by the United States Marshal.
                o as notified by the Probation or Pretrial Services Office.
                                                                          RETURN

     I have executed this judgment as follows:

               Defendant delivered on                                                        to

     at                                                       with a certified copy of this judgment.


                                                                                                        UNITED STATES MARSHAL


                                                                                By ________~~~~~~~~~~--------
                                                                                                   DEPUTY UNITED STATES MARSHAL




                                                                                                                                    IOCR3254-BTM
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             Case 3:10-cr-03254-BTM                  Document 338              Filed 06/16/14          PageID.1129             Page 3 of 4
     AD 245D (CASD) (Rev. SIll) Judgment in a Criminal Case for Revocations
                Sheet 3 - Supervised Release
                                                                                                                Judgment-Page   _~3,-_      of   4
     DEFENDANT: CHARLES EDWARD JOHNSON [2]                                                              II
     CASE NUMBER: lOCR3254-BTM
                                                             SUPERVISED RELEASE
     Upon release from imprisonment, the defendant shall be on supervised release for a term of:
     TWO (2) YEARS.


              The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
     the custody of the Bureau of Prisons.
     The defendant shall not commit another federal, statc Of local crime.
     For offenses committed 011 01' after September 13, 1994:
     The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
     substance. The defendant shall submit to one drug.test within 15 days of release from imprisonment and at least two periodic drug tests
     thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
     the term of supervision, unless otherwise ordered by court.                                          ---

     D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. (Check, if applicable.)
            The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
            The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
            Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).



     D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
               If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
     or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
     forth in this judgment.
              The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
     any special conditions imposed.

                                           STANDARD CONDITIONS OF SUPERVISION
       I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)    the defendant shall support his or her dependents and meet other family responsibilities;
       5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
       6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8)    the defendant shaH not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
             a felony, unless granted permission to do so by the probation officer;
      10)    the defendant shaH permit a probation officer to visit him or her at any time at horne or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;
      II)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
      12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
             permission of the court; and
      13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be Qccasioned by the defendant's criminal
             record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm. the
             defendant's compliance with such notification requirement.

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        AO 245B    (Rev. 9/00) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                         Judgment-Page _ _4_ of _ _4::......_ _
        DEFENDANT: CHARLES EDWARD JOHNSON [2]                                                      III
        CASE NUMBER: IOCR3254-BTM




                                               SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

181 Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and I to 8
    counseling sessions per month as directed by the probation officer.
o Not transport, harbor, or assist undocumented aliens.
o Not associate with undocumented aliens or alien smugglers.
o Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission of the Court or probation officer, except to reside in Mexicali, Mexico.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription, under Federal Law.
181 Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
  report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.


o   The defendant shall not discontinue mental health medication without written permission of his Doctor.

o   Provide complete disclosure of personal and business financial records to the probation officer as requested.
o This
  Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of up to 120 days commencing upon release.
       is a non-punitive placement. This condition terminates upon entry into a residential drug treatment program.
181 Seek and maintain full time employment and/or schooling or a combination of both.
o Abstain from all use of Alcohol.
o   Complete an Anger Management Program as directed by the Probation Officer within 18 months of release.
o   The defendant shall complete the "Volunteers of America" detox program.
181 Forthwith Apply for enter and successfully complete the V.A. residential drug treatment Program as directed by the Probation Officer.
o States
  If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
         illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
    suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




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